          Case 1:17-cr-00377-RJS Document 41 Filed 10/16/20 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA


         -v-
                                                                   No. 17-cr-377 (RJS)
                                                                        ORDER
 DARNELL FEAGINS,

                                 Defendant.


RICHARD J. SULLIVAN, Circuit Judge:

       On June 26, 2020, the Court indicated that it was in receipt of two memoranda from the

U.S. Probation Department detailing several specified violations by Defendant Darnell Feagins of

the terms of his supervised release, and scheduled a hearing on the matter for August 27, 2020.

(Doc. No. 37.) But shortly after that order was docketed, Feagins absconded from supervision and

a warrant was issued for his arrest. In addition, earlier this year, a new indictment was filed against

Feagins, charging him with possession of child pornography in violation of 18 U.S.C. § 2252A.

(Dkt. 20-cr-218, Doc. No. 1.) That case, docket number 20-cr-218, is currently pending before

Judge Pauley.

       On October 7, 2020, Feagins was arrested on the warrant for absconding from supervision

as well as a warrant issued in connection with the new indictment. He was presented before

Magistrate Judge Gorenstein on that day and consented to detention. (Dkt. 17-cr-377, Doc. No.

39.) Accordingly, IT IS HEREBY ORDERED THAT the government shall submit a letter no later

than October 23, 2020, apprising the Court of the developments in case 20-cr-218. That letter
          Case 1:17-cr-00377-RJS Document 41 Filed 10/16/20 Page 2 of 2




should also indicate how, if at all, case 20-cr-218 might impact the revocation proceedings in this

case. At that point, the Court will schedule a conference on Feagins’s specified violations.

SO ORDERED.

Dated:         October 16, 2020
               New York, New York


                                                     RICHARD J. SULLIVAN
                                                     UNITED STATES CIRCUIT JUDGE
                                                     Sitting by Designation




                                                2
